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                EXHIBIT A
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        EXOL Properties LLC
        Meridian Reddaway Rent              11/6/2023



Lease                             Increase            Correct %
 Year      Date      Rent Paid     Percent Actual CPI Increase    Correct Rent    Variance


          03/01/18    20,898.58                                       20,898.58          0.00 Zero balance forward
    9     04/01/18    21,734.52    4.00%     5.01%       5.01%        21,945.60       211.08
          05/01/18    21,734.52     4% min 12% max increase           21,945.60       211.08
          06/01/18    21,734.52                                       21,945.60       211.08
          07/01/18    21,734.52                                       21,945.60       211.08
          08/01/18    21,734.52                                       21,945.60       211.08
          09/01/18    21,734.52                                       21,945.60       211.08
          10/01/18    21,734.52                                       21,945.60       211.08
          11/01/18    21,734.52                                       21,945.60       211.08
          12/01/18    21,734.52                                       21,945.60       211.08
          12/31/18    21,734.52                                       21,945.60       211.08
          02/01/19    21,734.52                                       21,945.60       211.08
          03/01/19    21,734.52                                       21,945.60       211.08
   10     04/01/19    21,734.52     N/A    No increase    N/A         21,945.60       211.08
          05/01/19    21,734.52                                       21,945.60       211.08
          06/01/19    21,734.52                                       21,945.60       211.08
          07/01/19    21,734.52                                       21,945.60       211.08
          08/01/19    21,734.52                                       21,945.60       211.08
          09/01/19    21,734.52                                       21,945.60       211.08
          10/01/19    21,734.52                                       21,945.60       211.08
          11/01/19    21,734.52                                       21,945.60       211.08
          12/01/19    21,734.52                                       21,945.60       211.08
          12/31/19    21,734.52                                       21,945.60       211.08
          02/01/20    21,734.52                                       21,945.60       211.08
          03/01/20    21,734.52                                       21,945.60       211.08
   11     04/01/20    22,603.90    4.00%     3.90%       4.00%        22,823.42       219.52
          05/01/20    22,603.90     4% min 12% max increase           22,823.42       219.52
          06/01/20    22,603.90                                       22,823.42       219.52
          07/01/20    22,603.90                                       22,823.42       219.52
          08/01/20    22,603.90                                       22,823.42       219.52
          09/01/20    22,603.90                                       22,823.42       219.52
          10/01/20    22,603.90                                       22,823.42       219.52
          11/01/20    22,603.90                                       22,823.42       219.52
          12/01/20    22,603.90                                       22,823.42       219.52
          01/01/21    22,603.90                                       22,823.42       219.52
          02/01/21    22,603.90                                       22,823.42       219.52
          03/01/21    22,603.90                                       22,823.42       219.52
   12     04/01/21    22,603.90     N/A    No increase    N/A         22,823.42       219.52
          05/01/21    22,603.90                                       22,823.42       219.52
          06/01/21    22,603.90                                       22,823.42       219.52
          07/01/21    22,603.90                                       22,823.42       219.52
          08/01/21    22,603.90                                       22,823.42       219.52
          09/01/21    22,603.90                                       22,823.42       219.52
          10/01/21    22,603.90                                       22,823.42       219.52
          11/01/21    22,603.90                                       22,823.42       219.52
          12/01/21    22,603.90                                       22,823.42       219.52
          12/31/21    22,603.90                                       22,823.42       219.52
          02/01/22    22,603.90                                       22,823.42       219.52
          03/01/22    22,603.90                                       22,823.42       219.52
   13     04/01/22    23,960.13    6.00%     9.68%       9.68%        25,032.73      1,072.60
          05/01/22    23,960.13     4% min 12% max increase           25,032.73      1,072.60
          06/01/22    23,960.13                                       25,032.73      1,072.60
          07/01/22    23,960.13                                       25,032.73      1,072.60
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       08/01/22      23,960.13                                   25,032.73       1,072.60
       09/01/22      23,960.13                                   25,032.73       1,072.60
       10/01/22      23,960.13                                   25,032.73       1,072.60
       11/01/22      23,960.13                                   25,032.73       1,072.60
       12/01/22      23,960.13                                   25,032.73       1,072.60
       12/31/22      23,960.13                                   25,032.73       1,072.60
       02/01/23      23,960.13                                   25,032.73       1,072.60
       03/01/23      23,960.13                                   25,032.73       1,072.60
14     04/01/23      23,960.13                                   25,032.73       1,072.60
       05/01/23      23,960.13                                   25,032.73       1,072.60
       06/01/23      23,960.13                                   25,032.73       1,072.60
       07/01/23      23,960.13                                   25,032.73       1,072.60
                                                                             $27,496.00 Rent Shortfall thru September 2023 (pre-petition)
                  Pre-Petition August 2023 Monthly Rent and Tax Impound
     Date         Rent Paid      Tax Impound                Correct Amount   Shortfall
       08/01/23           0.00       0.00                        29,032.73     29,032.73 August 2023 (pre-petition) Rent and Tax Impound Shortfall


                  Post-Petition Monthly Rent and Tax Impound
     Date         Rent Paid      Tax Impound                Correct Amount   Shortfall
       09/01/23      23,960.13 4,000.00                          29,032.73       1,072.60
       10/01/23      23,960.13 4,000.00                          29,032.73       1,072.60
       11/01/23      23,960.13 4,000.00                          29,032.73       1,072.60
                                                                              $3,217.80 Rent Shortfall 9/1/23-11/30/23 (post-petition)
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 R03B4201B                                                                                                                                                                                                             10/30/2023 11:24:32
 SRG0002                                                                                                                       A/R Details with Aging                                                                   Page -         1
                                                                                                                                                                                                                        As-Of Date   10/30/2023
Company: 00300             SRMC FBO Orange Bat/SRG Bardee
                                                                                                                                                                                                                        Aging Date   10/30/2023
     ..........Document..........        Invoice Due Date/
Ty Number       Company Item              Date      Check Date   Original Amount      Open Amount                Current       31 - 60                  61 - 90            91 - 120               Over 120

 Customer:         1907157              USF Reddaway Inc                                     Phone Number:   (             )                 Credit Limit                             Insured Credit Limit

RU       5160      00300 001             3/1/2023    3/1/2023            73,557.45-                 .68-                                                                                                        .68-

RU       5172      00300 001             4/5/2023    4/5/2023            73,557.45-                 .68-                                                                                                        .68-

RU       5181      00300 001             5/2/2023    5/2/2023            73,340.45-                 .68-                                                                                                        .68-

RU       5187      00300 001             6/1/2023    6/1/2023            73,557.45-                 .68-                                                                                                        .68-

RU       5195      00300 001            6/28/2023    6/28/2023           73,557.45-                 .68-                                                                                                        .68-

RU       5222      00300 001             9/1/2023    9/1/2023            73,557.45-                 .68-                                  .68-

RU       5231      00300 001            9/29/2023    9/29/2023           73,557.45-                 .68-                                  .68-

RN      46838      00300 002            4/30/2021    4/30/2021              458.89               13.11                                                                                                        13.11

RN      47161      00300 001             1/1/2022    1/1/2022             4,374.17              13.72                                                                                                         13.72

RD      47162      00300 001             2/1/2022    2/1/2022               217.00              13.72                                                                                                         13.72

RD      47166      00300 001             3/1/2022    3/1/2022               217.00              15.00                                                                                                         15.00

RD      47205      00300 001             4/1/2022    4/1/2022               217.00              15.00                                                                                                         15.00

RD      47234      00300 001             5/1/2022    5/1/2022               217.00              15.00                                                                                                         15.00

RN      47636      00300 001             4/6/2023    4/6/2023               116.72             116.72                                                                                                        116.72

RD      47737      00300 001             8/1/2023    8/1/2023               217.00             217.00                                                             217.00

RD      47737      00300 002             8/1/2023    8/1/2023            73,339.77           73,339.77                                                       73,339.77

RN      47757      00300 001             8/1/2023    8/1/2023            16,214.50           16,214.50                                                       16,214.50

 Customer:         1907157          USF Reddaway                        419,096.10-          89,968.78                                   1.36-               89,771.27                                       198.87
                                Inc

 Company: 00300 SRMC FBO Orange                                         419,096.10-          89,968.78                                   1.36-               89,771.27                                       198.87
                           Bat/SRG Bardee

 Grand Total                                                            419,096.10-          89,968.78                                   1.36-               89,771.27                                       198.87
